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                             No. 23-1900, 23-2043
                  UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT
                           ________________
                             RONALD KOONS, et al.,
                                                Plaintiffs-Appellees,
                                     v.
                          MATTHEW J. PLATKIN, et al.,
                                               Defendants-Appellants.
                            ________________
                              AARON SIEGEL, et al.,
                                                 Plaintiffs-Appellees,
                                      v.
                          MATTHEW J. PLATKIN, et al.,
                                               Defendants-Appellants.
                            ________________
 On Appeal from the United States District Court for the District of New Jersey,
                     Nos. 1:22-cv-07464, 1:22-cv-07463
                             ________________
                        REPLY BRIEF
    FOR SIEGEL PLAINTIFFS-APPELLEES/CROSS-APPELLANTS
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                                INTRODUCTION

      The Supreme Court’s decision in Bruen made clear that states may neither

require individuals to satisfy ahistorical preconditions to obtain permits to carry

handguns in public nor seek to nullify Second Amendment rights by declaring most

locations “sensitive places” where handguns are prohibited. See N.Y. State Rifle &

Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111 (2022). Instead of respecting those

commands, New Jersey promptly sprang into action to defy them. The district court

correctly recognized the error of the state’s ways as to many of its sweeping new

permitting and sensitive-places restrictions. The court’s only mistake was in not

going further. In particular, it should have enjoined two additional aspects of

Chapter 131’s permitting regime: the application-fee requirement and the four-

reputable-persons requirement. And it should have enjoined in full additional

provisions prohibiting firearms in particular locations: the playground and youth-

sports-events provisions, the medical-facilities provisions, and the fish-and-game

provisions.

      The state’s response brief does nothing to justify these Bruen-defying

provisions. As to the $200 application fee—$50 of which must, by statute, be

deposited for purposes other than defraying the administrative costs of the state’s

permitting regime—the state insists that plaintiffs have invoked the wrong legal test

and claims that the fee necessarily passes muster because it is not “exorbitant.” As
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for the former, there is no tension between Bruen, which plaintiffs fully embrace,

and Supreme Court precedents condemning efforts to condition the exercise of

constitutional rights on fees that raise revenue for purposes beyond defraying

administrative costs. As for the latter, Bruen nowhere suggested that states may

impose licensing fees that raise revenue for purposes beyond defraying

administrative costs so long as they do not force applicants to break the bank.

Instead, Bruen held that firearms regulations are permissible only if they accord with

historical tradition, and the Supreme Court has already held that our Nation’s

tradition precludes the imposition of fees that go beyond defraying administrative

costs. The state thus is forced to speculate that its administrative costs may exceed

the $150 that it is collecting to defray them. That is doubtful, but also beside the

point, as there is no denying that the state has mandated that $50 be diverted to

something other than defraying administrative costs. The state cannot defend that

facially unconstitutional regime by rewriting it.

      The state’s defense of the four-reputable-persons requirement, which

conditions the exercise of a constitutional right on the subjective views of both

fellow citizens and state permitting authorities, is equally unsound. The state’s

primary argument is that plaintiffs do not have standing to challenge the requirement

because the state thinks that they can ultimately comply with it. But the fact that

plaintiffs must comply suffices to give them standing to challenge it. Indeed, the



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state cites no authority for its extraordinary claim that citizens are barred from

challenging allegedly unconstitutional requirements so long as they can satisfy them.

Nor does the state offer a viable defense on the merits. Its position boils down to the

proposition that there is nothing wrong with discretionary permitting regimes after

Bruen—even though Bruen said precisely the opposite.

      The state’s arguments regarding its sensitive-place provisions also miss the

mark. The state claims that it may prohibit handguns at off-campus playgrounds and

youth sports events because they are like schools, given the presence of “vulnerable”

children, and claims a historical tradition of banning firearms wherever vulnerable

people gather. But the state overlooks critical features of schools that make them

nothing like off-campus locations, and it comes nowhere close to demonstrating that

earlier generations protected the vulnerable by leaving them defenseless. Moreover,

the state’s suggestion that the Court should decline to enjoin the medical-facilities

provisions in toto overlooks that plaintiffs brought a facial challenge that requires a

facial remedy. And the state seeks to preserve its fish-and-game restrictions only by

insisting that there is no constitutional right to hunt, which is non-responsive when

the right plaintiffs seek to vindicate is self-defense. Because the state all but

concedes the remaining injunctive factors, the path forward is clear: The Court

should not only affirm the injunction, but expand its scope.




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                                     ARGUMENT

I.       Plaintiffs Are Likely To Succeed On The Merits Of Their Cross-Appeal
         Challenges.

         Chapter 131’s permitting scheme violates the Second Amendment thrice over.

Although the district court correctly enjoined one aspect of that scheme (the

insurance requirement), it should have enjoined Chapter 131’s application-fee and

four-reputable-persons requirements too.          The state’s contrary arguments are

meritless. 1

         A.    The Permitting Scheme Violates the Second Amendment.

               1.     Application fee (N.J. Stat. Ann. §2C:58-4(c)).

         Chapter 131 declares that, to obtain a permit to carry a handgun, an individual

must pay a $200 application fee. See N.J. Stat. Ann. §2C:58-4(c). But only a portion

of that amount ($150) “shall be used to defray the costs of investigation,

administration, and processing of the permit to carry handgun applications”; the

remainder ($50) “shall be deposited into the Victims of Crime Compensation Office

account.”      Id.   That revenue-raising regime is patently unconstitutional, as it

conditions conduct that the Second Amendment’s plain text covers on compliance

with a regulation that is unmoored from historical tradition. Because “[a] state may

not impose a charge for the enjoyment of a right granted by the federal constitution,”



     The intervenors’ second brief is a “reply brief,” Intervenors.Reply.Br.1, not a
     1

reply-and-response brief that also addresses the Siegel plaintiffs’ cross-appeal.


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the Supreme Court has already held that fees on the exercise of constitutional rights

are permissible only when they are confined to “defray[ing]” administrative costs

reasonably associated with regulation of the “activities in question.” Murdock v.

Pennsylvania, 319 U.S. 105, 113-14 (1943); see Cox v. New Hampshire, 312 U.S.

569 (1941). Chapter 131 makes plain on its face that it is not so confined, as it

commands that $50 shall not “be used to defray the costs of investigation,

administration, and processing of the permit to carry handgun applications,” but

rather “shall” be put to a different use entirely.

      The state first counters with the curious argument that plaintiffs “apply the

wrong test,” “which is Bruen, not Cox/Murdoc[k].” NJ.Resp.Br.74. But that

presents a false dichotomy. As plaintiffs have explained, “Bruen’s textual inquiry”

is easily satisfied in this context, and “the state did not and could not demonstrate

that forcing law-abiding citizens who wish to carry firearms to” “grow[] a fund to

compensate victims of violent crime” “is consistent with this Nation’s tradition of

firearm regulation, which is what it must establish” under “Bruen.” Siegel.Br.25.

Cases like Cox and Murdock simply inform the historical inquiry, as imposing a fee

on Second Amendment rights for some reason other than defraying administrative

costs could hardly be consistent with this Nation’s history when this Nation’s highest

court already held long ago that the Constitution precludes all efforts to “impose[]”

“a license tax … on the exercise of a privilege granted by the Bill of Rights.”



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Murdock, 319 U.S. at 113.         The state tries to confine that rule to the First

Amendment, see NJ.Resp.Br.74, but Cox and Murdock plainly address “Bill of

Rights” guarantees writ large, Murdock, 319 U.S. at 113. Allowing states to levy

needless charges in the Second Amendment context alone thus would convert the

Amendment into “a second-class right, subject to an entirely different body of rules

than the other Bill of Rights guarantees.” Bruen, 142 S.Ct. at 2156. That is precisely

what Bruen forbids. 2

       In reality, it is the state that “misunderstand[s] the legal test.” NJ.Resp.Br.74.

Seizing on a footnote in Bruen, the state claims that “many regulatory preconditions

to bearing arms do not implicate the Second Amendment” at all and that application-

fee requirements do so only if the fee is so “‘exorbitant’” as to effectively “‘deny

ordinary citizens their right to public carry.’” NJ.Resp.Br.66, 75 (quoting Bruen,

142 S.Ct. at 2138 n.9). That argument is a non-starter. A “regulatory precondition”

to “bearing arms,” NJ.Resp.Br.66, is self-evidently a “regulation” on “conduct” that



   2
     The state also suggests that determining whether a fee is confined to defraying
administrative costs equates to an impermissible “means-end balancing test.”
NJ.Resp.Br.74. But nothing in the Cox/Murdock test requires courts to engage in
abstract “balancing” of whether a “statute burdens a protected interest in a way or to
an extent that is out of proportion to the statute’s salutary effects upon other
important governmental interests.” Bruen, 142 S.Ct. at 2129. The test simply
requires courts to determine whether the fee a state has imposed is confined to
offsetting its administrative costs. Here, New Jersey has already answered that
question, as Chapter 131 says right on its face that $50 of the fee shall not be used
to defray licensing costs.


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“the Second Amendment’s plain text covers,” which is all that is necessary to shift

the burden to the state to produce historical evidence to justify its regulation, Bruen,

142 S.Ct. at 2126; see also Teter v. Lopez, 76 F.4th 938, 948 (9th Cir. 2023) (“the

first question in Bruen … analyzed only the ‘Second Amendment’s text,’” after

which the burden shifts to the state). Footnote 9 in Bruen does not suggest otherwise.

As the state does not dispute, that footnote came after the Supreme Court had

“turn[ed] to [the] historical evidence,” id. at 2138—i.e., after the Court had already

found the Second Amendment implicated.              And while the footnote offers

“example[s]” of regulatory preconditions (e.g., “exorbitant fees”) that are unlikely

to survive the historical inquiry, id. at 2138 n.9, that hardly suggests that anything

short of such patently “abusive” practices does not even implicate the Second

Amendment. To the contrary, it underscores the Court’s recognition that, just as

with any other fundamental constitutional right, imposing unnecessary fees on the

exercise of Second Amendment rights “inevitably tends to suppress their exercise.”

Murdock, 319 U.S. at 114.

      The three district court cases on which the state relies likewise lend no support

to its argument that only “exorbitant” fees violate the Second Amendment. None of

those cases involved a challenge to an application fee on the ground that it was not

confined to defraying administrative costs. Indeed, Doe v. Bonta, 2023 WL 187574

(S.D. Cal. Jan. 12, 2023), did not involve a challenge to an application fee at all. As



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for the other two, the plaintiffs in both cases argued that the fee violated the Second

Amendment not because it required payment into a victim’s compensation fund, but

simply because it was “exorbitant,” which makes it not terribly surprising that each

court acknowledged that exorbitant licensing fees violate the Second Amendment.

See Williams v. McFadden, 2023 WL 4919691, at *6 (W.D.N.C. Aug. 1, 2023);

Nat’l Ass’n for Gun Rts., Inc. v. City of San Jose, 2023 WL 4552284, at *8 (N.D.

Cal. July 13, 2023). But neither purported to hold that “exorbitance” is the only

constitutional constraint on taxing Second Amendment rights—nor could they

without impermissibly demoting those rights to second-class status.

       Because fees imposed on the exercise of Second Amendment rights plainly

implicate the Second Amendment, the state bears the burden of proving that

requiring those who wish to exercise Second Amendment rights to shoulder the cost

of compensating victims of violent criminals is “supported by substantial historical

evidence.” NJ.Resp.Br.75. But even setting aside the problem that virtually all the

laws it cites are from the second half of the 19th century or even the 20th century, 3


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     The state continues to insist that “Reconstruction-era evidence” (and seemingly
20th-century evidence) is “more persuasive” than “Founding-era … evidence.”
NJ.Resp.Br.18. Bruen begs to differ. See, e.g., 142 S.Ct. at 2154 (concluding that
“reliance on late-19th-century laws” has “serious flaws”). And while the state
continues to speculate that the lack of early historical support just reflects “our
federalist system,” NJ.Resp.Br.2, it has no answer to Bruen’s admonitions that the
“lack” of support cuts against it and that “speculat[ion]” is insufficient to overcome
it, 142 S.Ct. at 2131, 2149 n.25; see also New State Ice Co. v. Liebmann, 285 U.S.


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but see, e.g., Bruen, 142 S.Ct. at 2163 (Barrett, J., concurring) (“[A] practice that

‘arose in the second half of the 19th century … cannot by itself establish an early

American tradition’ informing our understanding of the First Amendment.” (citing

Espinoza v. Mont. Dep’t of Revenue, 140 S.Ct. 2246, 2258-59 (2020)), the state

offers no evidence that the fees or taxes referenced in those laws were imposed for

purposes other than defraying licensing or other administrative costs, see

NJ.Resp.Br.76. The state thus falls far short of its burden of proving that the Second

Amendment was a historical exception to the rule that “imposing fees on the exercise

of constitutional rights is permissible” only “when the fees are designed to defray

(and do not exceed) the administrative costs of regulating the protected activity.”

Kwong v. Bloomberg, 723 F.3d 160, 165 (2d Cir. 2013).

      Unable to reconcile its victim-compensation-fund command with any

historical (or even present-day) tradition, the state makes the exceedingly strained

and atextual argument that, though Chapter 131 explicitly sets aside only $150 of

the $200 application fee “to defray the costs of investigation, administration, and

processing of the permit to carry handgun applications,” N.J. Stat. Ann. §2C:58-4(c),

that “does not … suggest[] the [$200] fee is somehow more than necessary to




262, 280 (1932) (“[I]n our constitutional system … there are certain essentials of
liberty with which the state is not entitled to dispense in the interest of
experiments.”).


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‘defray’ the costs of administration,” NJ.Resp.Br.76. The state posits that its actual

administrative costs may exceed $150, and that the legislature could always revise

the law to redirect the extra $50 away from the Victims of Crime Compensation

Office and toward defraying those hypothetical costs. NJ.Resp.Br.76-77. This

argument did not occur to the state below, and it cannot rescue it now.

      For one thing, the state bears the burden to affirmatively “demonstrate” that

its application-fee requirement “is consistent with this Nation’s historical tradition

of firearm regulation,” Bruen, 142 S.Ct. at 2126—i.e., the tradition that fees must be

confined to administrative costs. Mere “speculat[ion],” id. at 2149 n.25, that there

are additional (but apparently unquantifiable) administrative costs that the

legislature apparently forgot to defray when updating the application fee “for the

first time in 50 years,” NJ.Resp.Br.4, does not get the job done. But more to the

point, whatever the state’s actual costs of administering its permitting regime may

be, Chapter 131 unambiguously commands that $50 of the $200 fee shall not be used

“to defray the costs of investigation, administration, and processing of the permit to

carry handgun applications,” but rather “shall be forwarded to the superintendent”

and “deposited into the Victims of Crime Compensation Office account.” N.J. Stat.

Ann. §2C:58-4(c). As a matter of New Jersey law, then, anyone who wants to carry

a handgun must pay $50 into the Victims of Crime Compensation Office account.




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New Jersey cannot defend that command by positing that the legislature could

always repeal and replace it with some other application-fee regime.

      The state is thus forced to resort to the dubious argument that forcing law-

abiding applicants to provide “[f]inancial assistance to gun-violence victims” does

defray an “administrative cost” because Cox and Murdock allow the state to offset

the costs associated with “‘policing the activities in question.’” NJ.Resp.Br.77-78.

But the “activities in question” mean the activities in which the fee-payer seeks to

engage—here, law-abiding citizens’ efforts to obtain a license to carry a handgun—

not the activities of wholly unrelated third parties who commit violent crimes. That

is why Murdock condemned a “license tax” “unrelated to the scope of the activities

of petitioners.” 319 U.S. at 113 (emphasis added). Just as a state cannot force all

newspapers to pay into a compensation fund for victims of libelous articles, or

compel all court-filers to pay into a preemptive contempt fund, New Jersey cannot

impose costs created by those who abuse Second Amendments rights on those who

seek only to exercise them.

            2.     Endorsement from four reputable persons (N.J. Stat. Ann.
                   §2C:58-4(b)).

      The state fares no better in defending Chapter 131’s novel four-reputable-

persons requirement, which requires an applicant to obtain the “endorse[ment]” of

at least “four reputable persons who are not related by blood or by law to the

applicant and have known the applicant for at least three years,” to attest that the


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applicant “has not engaged in any acts or made any statements that suggest the

applicant is likely to engage in conduct, other than lawful self-defense, that would

pose a danger to the applicant or others.” N.J. Stat. Ann. §2C:58-4(b). That

requirement necessarily entails an “appraisal of facts, the exercise of judgment, and

the formation of an opinion” by permitting authorities, which Bruen deemed the

hallmarks of an unconstitutional permitting regime. 142 S.Ct. at 2138 n.9.

      The state’s lead response is to claim that plaintiffs lack Article III standing to

challenge the four-reputable-persons requirement because they have offered “no

basis to believe they cannot find references.” NJ.Resp.Br.78-79. That is entirely

beside the point. In order to exercise their Second Amendment rights, plaintiffs must

affirmatively do something that they maintain the state cannot require them to do—

namely, supply the “endorse[ment]” of at least “four reputable persons.” N.J. Stat.

Ann. §2C:58-4(b). Just as plaintiffs need not prove that they cannot afford a $200

licensing fee to challenge the state’s command that they pay it, see, e.g., Kwong v.

Bloomberg, 876 F.Supp.2d 246, 251 (S.D.N.Y. 2012) (plaintiffs “have suffered a

concrete and actual injury because they have all paid the … application fee that is

challenged as unconstitutional”), aff’d, 723 F.3d 160 (2d Cir. 2013); Sullivan v. City

of Augusta, 511 F.3d 16, 31 (1st Cir. 2007) (“notwithstanding their apparent ability

to comply, we believe the plaintiffs have standing to challenge … the

constitutionality of the … application provision”); Ctr. for Auto Safety Inc. v. Athey,



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37 F.3d 139, 141 (4th Cir. 1994) (plaintiff had standing to challenge charitable

solicitation fee even though it “refus[ed] to pay the $200 fee”), they need not prove

that they cannot find four “reputable” character references to challenge the state’s

command that they produce them. Indeed, if a state required a citizen to secure the

endorsement of four reputable persons or to pay a small tax to go to church, no one

would question the citizen’s injury or ability to file suit even if those unconstitutional

requirements did not actually preclude her from getting to the pew.

      The state thus must defend the four-reputable-persons requirement on the

merits, and its efforts fall far short. While the state appears to concede that the

requirement furnishes it with considerable “‘discretion’” to deny handgun permits,

it tries to downplay that problem on the theory that only “individual justices” in

Bruen expressed concern about discretionary permitting regimes. NJ.Resp.Br.79.

That claim is mystifying. The Bruen majority, joined in full by six members of the

Court, expressly condemned permitting regimes “under which authorities have

discretion to deny concealed-carry licenses” based on subjective determinations that

the applicant “has not demonstrated … suitability for the relevant license.” 142 S.Ct.

at 2124. That perfectly describes the problem with the four-reputable-persons

requirement. Indeed, the notion that the Bruen majority would be unperturbed by a

novel character-endorsement regime that looks like something plucked from a Jim-

Crow-era voting law strains credulity.



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      Invoking another Bruen footnote, the state contends that the Supreme Court

already effectively sanctioned New Jersey’s (not-yet-then-extant) four-reputable-

persons requirement when it included Connecticut in the list of states with “shall

issue” permitting regimes. See NJ.Resp.Br.79-80 (citing Bruen, 142 S.Ct. at 2123

& n.1). That claim is difficult to comprehend given that Connecticut’s law contains

no reputable-persons requirement. See Conn. Gen. Stat. §29-28 (2021). And while

Connecticut grants licensing officials discretion to deny a permit to someone who is

not a “suitable person,” id., Bruen explained that the regime actually “appear[s] to

operate like” licensing laws in “‘shall issue’ jurisdictions,” as Connecticut courts

have interpreted that discretion narrowly to “preclude[] permits only to those

‘individuals whose conduct has shown them to be lacking the essential character of

temperament necessary to be entrusted with a weapon.’” 142 S.Ct. at 2123 & n.1

(emphasis added). Licensing authorities make that determination, moreover, after

considering only objective criteria, like the results from “a state and national criminal

history records check” and whether the applicant has “failed to successfully

complete a course … in the safety and use of pistols and revolvers,” Conn. Gen. Stat.

§29-28(b). That is miles away from what the state proposes to do here, which is to

preclude an applicant from exercising a constitutional right until licensing authorities

make an on-the-spot subjective determination that those with sufficient standing in

the community have sufficiently favorable things to say about him.



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      The state protests that plaintiffs’ argument is “unsupported by the statutory

text” and “would strip law enforcement from obtaining information about … public-

safety concerns.” NJ.Resp.Br.80-81. As for the former, the statutory text speaks for

itself, and it explicitly says that an applicant must “be endorsed by not less than four

reputable persons” who are willing to discuss the “nature and extent of their

relationship with the applicant.” N.J. Stat. Ann. §2C:58-4(b). As for the latter, the

state fails to explain why the objective criteria used in shall-issue states all

throughout the country are inadequate to supply the requisite information to

determine whether someone is disqualified from exercising Second Amendment

rights. More fundamentally, no matter how much the state wishes to preserve a

licensing regime that turns on the “appraisal of facts, the exercise of judgment, and

the formation of an opinion,” Bruen, 142 S.Ct. at 2138 n.9, there is no longer any

room for debate that this is one of the “policy choices” that the Second Amendment

“takes … off the table,” District of Columbia v. Heller, 554 U.S. 570, 636 (2008).

      Even assuming this Court could second-guess the Supreme Court, the state

provides no basis to do so. Although it “identified no historical evidence” below to

support its four-reputable-persons requirement, JA72, the state belatedly asserts that

“considerable historical evidence supports character-reference requirements like this

one,” NJ.Resp.Br.81. In reality, its evidence just underscores the novelty of New

Jersey’s approach. The state first observes that states have traditionally “disarmed”



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“dangerous[]” individuals. NJ.Resp.Br.81. But while those laws may support state

efforts to dispossess of firearms people who actually engage in misconduct, they

lend no support to New Jersey’s effort to restrict the exercise of Second Amendment

rights ab initio unless and until a law-abiding citizen secures the blessing of four

“reputable” persons. The state’s only other historical evidence consists of a grand

total of four municipal laws from the late-19th century or later. But two of those

laws (from the City of New York and the then-City of Brooklyn) contain no

character-reference requirement, 4 so the state really has only two: an 1871 Jersey

City ordinance and a 1903 Trenton ordinance that conditioned the exercise of Second

Amendment rights on the endorsement of “three reputable freeholders.”

NJ.Resp.Br.81.    While the state seems to believe that its historical burden is

exceedingly light, see NJ.Resp.Br.11-14, Bruen confirmed that states must show that

their firearms regulation are “part of an enduring American tradition,” 142 S.Ct. at

2155 (emphasis added). To state what should be obvious, two ordinances of dubious

facial validity, one of which post-dates even the Fourteenth Amendment by 35 years,



   4
     The New York laws allowed the “officer in command” at the local police
precinct to make a “recommendation” on whether to approve a permit application.
NJ.Resp.Br.81-82. The state argues that “allowing police investigations is to allow
collecting the very information character references provide today.” NJ.Resp.Br.82
n.22. But the state offers no evidence that New York and Brooklyn police conducted
“investigations” into permit applicants at all, much less conducted investigations that
are “closely analogous” to its four-reputable-persons requirement. Baird v. Bonta,
__ F.4th __, 2023 WL 5763345, at *8 (9th Cir. Sept. 7, 2023).


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does not an enduring tradition make. See id. at 2154 (“[W]e will not stake our

interpretation of the Second Amendment upon a law in effect in a single State[.]”);

United States v. Daniels, 77 F.4th 337, 347 (5th Cir. 2023) (“The Bruen Court

doubted that three colonial-era laws could suffice to show a tradition, let alone three

laws passed eighty to ninety years after the Second Amendment was ratified.”). All

aspects of Chapter 131’s permitting regime at issue on appeal should therefore be

enjoined.

      B.     The Sensitive-Place Provisions Violate the Second Amendment.

      The same goes for the sensitive-place provisions. As the state does not

dispute, Chapter 131 places “most of New Jersey off limits for law-abiding citizens”

by declaring most of the state a “sensitive place.” JA19. Both the Supreme Court

and this Court have already admonished that such an indiscriminate approach is

unconstitutional. See Bruen, 142 S.Ct. at 2133, 2156 (explaining that sensitive

places are “few” and “exceptional”); Range v. Att’y Gen., 69 F.4th 96, 105 (3d Cir.

2023) (“[H]istorical restrictions on firearms in ‘sensitive places’ do not empower

legislatures to designate any place ‘sensitive’ and then ban firearms there[.]”). And

although the district court correctly enjoined many of the challenged sensitive-place

provisions, it should have enjoined others or otherwise expanded the relief it granted.




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             1.     Playgrounds and youth sports events (N.J. Stat. Ann.
                    §§2C:58-4.6(a)(10), (11)).

       The district court held that the state can flatly prohibit carrying handguns at

all playgrounds and youth sports events—even though it acknowledged that the state

supplied “no meaningful analysis” to support those prohibitions. JA186, 192-93,

780-82, 786-88. The state applauds that undeserved result as “unquestionably

correct.” NJ.Resp.Br.35. In its view, the “historical evidence” confirms that it may

prohibit firearms anywhere “vulnerable persons gather,” which includes all

“playgrounds and youth sports events” because children sometimes “congregate” in

those locations. NJ.Resp.Br.35. That theory is flawed on multiple levels. 5

       To start, while the state tries to analogize playgrounds and youth sports events

to schools, that effort ignores features that render schools meaningfully different

from virtually all other locations. 6 Unlike most other places, a school exercises “in


   5
     The state suggests that plaintiffs have not “squarely” presented their challenges
to the playground and youth-sports-events provisions because they appeared in part
in a “footnote.” NJ.Resp.Br.35. But the body of the brief explicitly challenges the
entirety of the “beach, park, recreational-facility, and playground provision,”
Siegel.Br.47, and the footnote incorporates the same arguments as to the youth-sports
provision, Siegel.Br.49 n.9; see also Siegel.Br.9-10 (identifying both provisions as
“relevant to this appeal”). In all events, the state understood plaintiffs’ arguments
well enough to respond to them, and its protest takes considerable chutzpah given
its own repeated footnoting of arguments. See, e.g., NJ.Opening.Br.18 n.3;
NJ.Resp.Br.30 n.7.
   6
     Chapter 131 contains one sensitive-place provision prohibiting firearms at
“schools”—which plaintiffs have not challenged—and a separate sensitive-place
provision prohibiting firearms at “youth sports events” and “playgrounds.” See N.J.


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loco parentis” authority over children—i.e., a school stands “in the place of a

parent,” who does not physically accompany the child to the school that the child is

compelled to attend. In Loco Parentis, Black’s Law Dictionary (11th ed. 2019);

State v. Pendergrass, 19 N.C. 365, 366 (1837) (“The teacher is the substitute of the

parent” and “is invested with his power.”). It is thus the school’s duty to protect the

children who are confined to its premises during the school day, Mahanoy Area Sch.

Dist. v. B. L., 141 S.Ct. 2038, 2046 (2021), which gives schools greater leeway to

determine how best to do so, see Koons.Br.29-30.

      But none of that means that the state can declare every location where children

congregate a “sensitive place.” Cf. Mahanoy, 141 S.Ct. at 2046 (“[A] school, in

relation to off-campus speech, will rarely stand in loco parentis.”). That would

“define[] the category of ‘sensitive places’ far too broadly,” Bruen, 142 S.Ct. at

2134, as there are all manner of places where children sometimes congregate. Worse

still, it would prohibit parents from protecting their children when they retain the

responsibility to do so and would prohibit all law-abiding citizens from protecting

themselves even when nobody else can. After all, the state certainly has not offered

to guarantee the safety of those gathered at playgrounds and youth sports events by




Stat. Ann. §§2C:58-4.6(a)(7), (10), (11). The playground and youth-sports-events
provisions thus concern off-campus locations—e.g., “Tae Kwon Do classes” in a
“strip mall.” JA768.


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providing security itself, which would at least compensate for the loss of their self-

defense rights. New Jersey’s proposed state of affairs is antithetical to the Second

Amendment. See Heller, 554 U.S. at 628 (explaining that “the inherent right of self-

defense has been central to the Second Amendment right” and includes the right to

defend one’s “self” and “family”).

      The state claims that “historical evidence” corroborates its irrational theory

that it may categorically strip people of their Second Amendment rights wherever

“vulnerable” people congregate, but the evidence it supplies does nothing of the sort.

The state first invokes the 1328 Statute of Northampton and subsequent laws

modeled after it. See NJ.Resp.Br.35 (citing NJ.Opening.Br.13). While the state now

concedes (as it must) that Bruen held that these laws prohibited carrying a firearm

only “in a way that spreads ‘fear’ or ‘terror’ among the people,” 142 S.Ct. at 2145,

it suggests that Bruen “did not discuss” the “more specific statutory prohibitions on

being armed “in Fairs, markets, []or in the presence of the Justices or other

Ministers,” NJ.Resp.Br.28 n.6. And according to the state’s “expert”—who has

ridiculed Bruen as “complete and utter fugazi,” Patrick J. Charles, The Fugazi

Second Amendment: Bruen’s Text, History, and Tradition Problem and How to Fix

It, 71 Clev. St. L. Rev. 623, 667 (2023)—the “Fairs and markets” language allows

states to prohibit firearms anywhere “where people regularly congregate[],” JA310-

11, which is to say pretty much everywhere. Setting aside the problem that Bruen



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squarely rejected the argument that all “places where people typically congregate”

may be deemed “sensitive,” 142 S.Ct. at 2133, Bruen also expressly rejected the

argument that the “fairs [and] markets” language in Northampton laws equated to

total bans on carrying in those locales, id. at 2139, 2144-45.

      And those are not even the only respects in which the state’s reliance on the

Statute of Northampton backfires. While the Statute of Northampton prohibited the

carrying of firearms “in the presence of the Justices or other Ministers,” JA1223, the

state overlooks that it expressly exempted “Ministers” from that prohibition,

JA1223, and the King’s ministers included arms-bearing and security-providing

individuals like “sheriffs” and “bailiffs” (i.e., “sheriff’s officers”), 1 William

Blackstone, Commentaries on the Laws of England *332, *334 (1769). Similar

exceptions appeared in American statutes modeled on the Statute of Northampton.

See, e.g., JA1233, 1508. The Statute of Northampton and its progeny therefore only

underscore that earlier generations generally protected sensitive places by treating

them as in need of heightened security, not by leaving those who visit them

defenseless.   See Koons.Br.24-26.     Consistent with that understanding, Bruen

explained that the “relatively few” “sensitive places” that exist are locations where

“law enforcement professionals are usually presumptively available.” 142 S.Ct. at

2133-34.




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      The state attempts to bolster its vulnerable-people theory by citing the handful

of state, territorial, and municipal laws from the late-19th and early-20th centuries

that purportedly prohibited firearms at public libraries and museums.             See

NJ.Resp.Br.35 (citing NJ.Opening.Br.19). While these laws’ “temporal distance

from the founding” is a “serious flaw[]” with the state’s argument, Bruen, 142 S.Ct.

at 2154, see Siegel.Resp.Br.41, it is hardly the only one. The state offers precisely

zero evidence that any of these jurisdictions enacted these laws due to the presence

of “vulnerable” people in such locations, whether children or otherwise.

NJ.Resp.Br.35 & n.10. Instead, the state works backwards: It assumes that late-

19th- and early-20th-century libraries and museums must have catered principally to

children because “modern public libraries and museums are popular for families

with children.” NJ.Opening.Br.20 (emphasis added). But Bruen does not tolerate

such shortcuts; it demands an assessment of “how and why” earlier generations

actually regulated firearms. 142 S.Ct. at 2133, 2149 n.25; see Range, 69 F.4th at

103-04. And the state offers no evidence that earlier generations viewed libraries

and museums as the functional equivalent of schools.

      The only other evidence the state cites for its vulnerable-people theory is its

prior efforts to justify its firearms restrictions at medical facilities.         See

NJ.Resp.Br.35 (citing NJ.Opening.Br.22-23). But the state never actually found any

historical evidence suggesting that earlier generations prohibited firearms at medical



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facilities. To the contrary, it just adamantly insisted that medical facilities are

materially indistinguishable from “parks,” “zoos,” and “establishments serving

liquor,” where the state can supposedly prohibit firearms consistent with historical

tradition. NJ.Opening.Br.23. The premise of that effort is not even correct, see

Siegel.Br.45-49, 51-52, but in all events, that the state can defend its sweeping law

only by deeming playgrounds and youth sporting events equivalent to places as

disparate as hospitals, zoos, and bars vindicates the wisdom of the Supreme Court’s

admonition that “analogical reasoning under the Second Amendment” is not “a

regulatory blank check.” Bruen, 142 S.Ct. at 2133.

             2.     Health care facilities or treatment centers (N.J. Stat. Ann.
                    §2C:58-4.6(a)(21), (22)).

      As plaintiffs explained, the district court correctly concluded that there is a

total “lack” of “historical laws” to support the state’s firearms prohibition at medical

facilities. JA208-10. But although plaintiffs brought a facial challenge, the court

limited injunctive relief to “the medical offices and ambulatory care facilities listed

in Plaintiffs’ declarations.” JA210. That is not how remedies work. The court

instead should have granted a facial remedy.

      The state suggests otherwise, asserting that any additional relief would “fail[]

under Article III” because “the pleadings contain no allegations that the Siegel

Plaintiffs will be visiting” other medical facilities. NJ.Resp.Br.36-37. The state

offers no support for that argument, and none exists. But in all events, it does not


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matter. “In a facial constitutional challenge, individual application facts do not

matter”; “[o]nce standing is established, the plaintiff’s personal situation becomes

irrelevant.” Ezell v. City of Chicago, 651 F.3d 684, 697 (7th Cir. 2011). Instead,

“[i]n a facial challenge,” “the claimed constitutional violation inheres in the terms

of the statute,” so “a successful facial attack means the statute is wholly invalid and

cannot be applied to anyone.” Id. at 698; see id. (“These are not application-specific

harms calling for individual remedies.”); see also, e.g., CMR D.N. Corp. v. City of

Philadelphia, 703 F.3d 612, 624 (3d Cir. 2013). That bedrock rule means that the

court should have enjoined the medical-facilities provisions across the board.

             3.     Fish and Game Restrictions (N.J.A.C. §7:25-5.23(a), (c), (f),
                    (i), (m)).

      The state also falls short in defending its fish-and-game restrictions. Its

argument is premised on the notion that “the Second Amendment does not

encompass a right to recreational hunting.” NJ.Resp.Br.41; see NJ.Resp.Br.42

(referencing “history of state regulation of game hunting”). But even accepting that

premise, the state’s argument is misplaced. The Second Amendment unquestionably

encompasses a right “to carry a handgun for self-defense outside the home,” Bruen,

142 S.Ct. at 2122, and that is the right that plaintiffs are asserting here—i.e., the

right to defend themselves while they are engaged in recreational hunting. The

state’s fish-and-game provisions plainly violate that right, for they prohibit bow-

hunters from carrying a handgun, N.J.A.C. §7:25-5.23(m), prohibit handgun


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ammunition “in the woods, fields, marshlands, or on the water” or while hunting

certain game, id. §7:25-5.23(a), (c), (f), and prohibit handguns “within the limits of

a state game refuge,” id. §7:25-5.23(i). While the state insists that “[n]othing in

Heller … suggests there is a right to carry both handguns and other weapons

simultaneously while engaging in hunting,” NJ.Resp.Br.42, it does not attempt to

square that ipse dixit with Heller’s admonition that “[i]t is no answer to say … that

it is permissible to ban the possession of handguns so long as the possession of other

firearms (i.e., long guns) is allowed.” 554 U.S. at 629.

      Lacking a serious merits defense, the state resorts to another misguided

Article III argument. In its view, plaintiffs lack standing because, even if they are

right that the fish-and-game provisions violate the Second Amendment, this Court

cannot “redress[]” that injury because those provisions are “enforced by the Division

of Fish and Wildlife, not Defendants.” NJ.Resp.Br.41 n.11. But the lead defendant

here is New Jersey’s Attorney General, and he has ultimate authority over whether

the state brings criminal charges for violations of the fish-and-game provisions. See

N.J. Stat. Ann. §23:2A-10(a)(5), (f). This Court thus can remedy plaintiffs’ injury

at least in part by enjoining the Attorney General from enforcing those provisions.

Redressability requires nothing more. See, e.g., Uzuegbunam v. Preczewski, 141

S.Ct. 792, 801 (2021) (reiterating that even “partial” relief suffices for

redressability).



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II.       The Remaining Factors Favor Injunctive Relief.

          As with its own appeal, the state does not meaningfully contest that the

remaining factors all favor injunctive relief if the Court agrees that plaintiffs are

likely to prevail on the merits in their cross-appeal. See Baird, 2023 WL 5763345,

at *2-3. Indeed, the state makes no argument at all about the public-interest and

balance-of-equities factors. And with the lone exception of plaintiffs’ challenge to

the fish-and-game restrictions, the state does not dispute the irreparable-harm factor

either. 7 And the state’s argument regarding those fish-and-game restrictions does

not move the needle. The state observes that it enacted those restrictions decades

ago, which supposedly undermines the claim of irreparable injury.                 See

NJ.Resp.Br.41 n.11. But the state ignores that Bruen only recently confirmed the

right to carry handguns in public and that the state only recently made the decision

to ignore Bruen’s teachings. The state does not and cannot explain why plaintiffs’

prompt challenge to the state’s continued refusal to align its fish-and-game

provisions with Bruen is nevertheless too late. Accordingly, the Court should affirm

the injunction already granted and remand with instructions for the district court to




     The state does not defend the district court’s erroneous conclusion that, even
      7

though the state defendants enjoy sovereign immunity that they are not willing to
waive, plaintiffs could somehow obtain monetary damages (and thus cannot
establish irreparable harm) if they succeed on their challenge to the application-fee
requirement. See JA81.


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broaden that relief to ensure that plaintiffs need not live under those unconstitutional

provisions while this litigation runs its course.

                                    CONCLUSION

      The Court should affirm to the extent the district court granted a preliminary

injunction but otherwise reverse.

                                                Respectfully submitted,

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      The undersigned hereby certifies pursuant to L.A.R. 46.1 that the attorney

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